       Case MDL No. 2814 Document 391-1 Filed 08/18/21 Page 1 of 1




                           BEFORE THE UNITED STATES
                                JUDICIAL PANEL
                          ON MULTIDISTRICT LITIGATION

                                            )
In re: FORD MOTOR CO. DPS6                  )
POWERSHIFT TRANSMISSION                     )   MDL NO. 2814
PRODUCTS LIABILITY LITIGATION               )
                                            )

                                 SCHEDULE OF ACTIONS


 Ex.                 Case Name              Court        Case No.         Judge

  1    Plaintiffs:                      E.D. Wis.,     2:21-cv-0794   Magistrate
                                        Milwaukee                     Judge Stephen
       Jeremy Chapman, Kemoy Fong,
                                                                      C. Dries
       Paul Pilof
       Defendant:
       Ford Motor Company
